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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA
CIVIL ACTION

TORY WILLIAMS, parent and natural guardian
of K.W.B., a minor,

Plaintiffs : CASE NO. 2:20-cv-00408-JS
v.
Jury Trial Demanded
AMAZON.COM, INC.,
Defendant : COMPLAINT
AMENDED COMPLAINT

Plaintiff, Tory Williams, parent and natural guardian of K.W.B., a minor, by and through

her attorney, Gerald B. Baldino, Jr., Esq., respectfully represent as follows:
PARTIES

1. Plaintiff, Tory Williams, is an adult individual residing at 1566 Hermesprota Drive,
Sharon Hill, PA 19079, and is the parent and natural guardian of K.W.B., a minor.

2. Defendant, Amazon.com, LLC (hereinafter “Defendant Amazon”), is a corporation
with more than fifty (50) employees and is organized under the !aws of the state of Washington
with a principal place of business located at 410 Terry Ave. North, Seattle, WA, 98109.

3. Upon information and belief, Defendant Amazon is involved in electronic
commerce and cloud computing and derives a large portion of its business and sales through third
party vendors such as Fab Cart.

4, Defendant Amazon regularly conducts business within the city and county of
Philadelphia.

5. After reasonable investigation, Plaintiffs were unable to identify or locate a place

of operations, contact information, or any agents for Fab Cart. The true names and capacities of
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the entity named herein as Fab Cart is unknown to Plaintiff. Plaintiff therefore directs this
Complaint solely at Defendant Amazon.com, Inc., at present and at least until such time as the
identity of Fab Cart, including its true name and capacity, becomes known.

JURISDICTION AND VENUE

6. This Court has jurisdiction over this dispute pursuant to 28 U.S.C. §1332. Venue is
properly laid within the United States District Court for the Eastern District of Pennsylvania
pursuant to 28 U.S.C. §1391(b).

GENERAL ALLEGATIONS

7. The GSN Temporary Tattoo India Henna Tattoo Paste Black Tatouage Temporary
Paste Cone Body Art Painting with Henna Stencil Set (4PCS) (hereinafter the “product”), which
is the subject of this litigation, was purchased by Plaintiff from Defendant Amazon’s e-commerce
website through the Fab Cart marketplace on Amazon.com on or about December 15, 2017.

8. Defendant Amazon was at all times relevant hereto a seller of the product, engaged
in the business of selling such product, and did sell such product to the plaintiff.

9. On or about January 14, 2018, K.W.B., a minor, applied the product to her left
upper extremity and fell asleep with her face on her left hand.

10. On or about January 15, 2018, K.W.B, a minor, woke up with serious, permanent,
and disfiguring injuries and burns on her face and left upper extremity as a direct and proximate
result of the defective condition of the product sold, marketed, and distributed by Defendant
Amazon.

11. At the time of the incident, the product being used by plaintiff was in substantially
the same condition as when delivered by defendant to plaintiff and it had not been substantially

altered or modified.
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12. At all times pertinent hereto, defendant Amazon.com was engaged in the
marketing, sales, distribution and supply of Henna tattoo products, and specifically but not limited
to, the product which is the subject of this litigation.

13. The incident was caused by the negligence of defendant Amazon.

14. At all times relevant hereto, the product was used by minor plaintiff K.W.B. in a
proper and appropriate manner in accord with all prevailing standards and as per manufacturer's
instructions.

15.  Atall times relevant hereto, the product was being used in its intended manner and
for its intended use and was not misused by the minor plaintiff, K.W.B.

16. The incident causing injury to the minor plaintiff, K.W.B., resulting from the
negligence of defendant, by virtue of the defective nature of the product in that the product was
either defectively designed defectively manufactured and defendant failed to properly warn of the
dangerous condition and propensities of the product and, all other causes of the incident having
been ruled out.

17, Defendant supplied the product with knowledge of the product’s dangerous
propensities and propensity to fail under normal use, and otherwise had actual notice of the dangers
of the product and its propensity to fail and nevertheless placed the product in the stream of
commerce and allowed the product to remain in the hands of those lawfully permitted to use the
product, despite such knowledge, constituting conduct with disregard to the health, safety and
welfare of minor plaintiff K.W.B. and others similarly situated.

COUNT I

Plaintiff, Tory Williams, as parent and natural guardian of K.W.B., a minor,
y. Amazon.com, LLC

Negligence

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18. Plaintiffs incorporate herein by reference all preceding paragraphs of this
Complaint as though fully set forth at length.

19. Atall times relevant hereto, defendant was under a duty to exercise reasonable care
in distributing, inspecting, marketing, and selling the product.

20. Defendant knew or should have known that consumers, including minor plaintiff,
would suffer injury as a result of its failure to exercise ordinary care.

21. The negligence of defendant Amazon consisted of one or more of the following
acts or omissions:

a. Allowing its product to be sold in a defective condition;

b. Failing to warn users or others subject to injury resulting from the dangerous
product or the dangers associated with the product;

c. Failing to investigate the dangers associated with its product;

d. Placing the product in the stream of commerce when defendant knew, or
reasonably should have known, that the product was not properly equipped with components and
safety devices and features to make it safe for intended use;

€. Marketing, selling and/or supplying the product which defendant knew or
reasonably should have known was in a defective condition;

f. In ignoring evidence and facts about the dangers of the product when used
in a reasonably foreseeable manner;

g. Failing to supply or specify the appropriate and safe use for the product;

h. Failing to warn plaintiff and/or minor plaintiff of the dangers associated

with the product;
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i. Negligently distributing, inspecting, marketing, selling, and/or testing the
product.

22. The incident was caused by the negligence of the defendant and was in no way
caused by plaintiff or minor plaintiff.

23. Asa result of the incident, minor plaintiff was caused to suffer severe injuries
including but not limited to: severe burns to her upper left extremity and face, disfigurement,
severe pain and suffering as well as injuries to the nerves and nervous system.

24.  Asaresult of minor plaintiff's injuries, she was caused to endure and will continue
to endure great pain, suffering, inconvenience, embarrassment, mental anguish, emotional and
psychological damages, trauma and harm, and disfigurement.

25. Asa result of minor plaintiff’s injuries, she has expended and will be required to
expend large sums of money for medical treatment and therapeutic treatment and other attendant
services.

26. Asa result of plaintiff's injuries, she has been and will in the future be unable to
enjoy the various pleasures of life that she previously enjoyed.

WHEREFORE, plaintiff Tory Williams demands judgment against defendant in
an amount in excess of $75,000.00 plus interest and costs.
COUNT I

Plaintiff, Tory Williams, as parent and natural guardian of K-W.B., a minor,
v. Amazon.com, LLC

Strict Product Liability Under Restatement of Torts §402(a)
and Pennsylvania Interpretative Common Law

27. Plaintiff incorporates by reference all preceding paragraphs of this Complaint as

though fully set forth at length.
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28. The injuries and damages incurred by minor plaintiff were directly and proximately
caused by the defective condition of the product, either by virtue of its defective design, defective
manufacture or by defendant’s failure to adequately warn of the dangers of the product for which
defendant is strictly liable.

29. Defendant Amazon promoted, distributed, and/or sold the subject henna tattoo
cone, expecting that it would reach consumers in the condition in which it was manufactured and
sold, and knowing, or with reason to know, that it would be used without inspection for defects of
any danger to minor plaintiff.

30. The subject henna tattoo cone did in fact reach plaintiff and minor plaintiff without
substantial change in the condition in which defendant first sold in, and minor plaintiff used the
subject henna tattoo cone as it was intended to be used.

31. Defendant Amazon is liable because it failed to provide adequate warnings
regarding the use of the product, causing it to be unreasonably dangerous to the intended user at
the time it left the defendant’s possession.

32. The subject henna tattoo cone was provided with a dangerous condition making it
unreasonably dangerous, defective and unsafe for its intended use.

33. Defendant Amazon, as a merchant of the subject henna tattoo cone, is held to the
knowledge of an expert in the field and knew or should have known that the product was
dangerous, defective, and unsafe for its intended use.

34. Despite its knowledge of the dangers associated with the use of the product,
defendant promoted, distributed, and/or sold the product without adequate information and data.

35. Defendant knew or reasonably should have known that consumers, including

plaintiff and minor plaintiff, would foreseeably suffer injury as a result of its failures.
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36. Defendant failed to provide any warnings of a possible defect or dangerous
condition.

37. The injuries and damages incurred by minor plaintiff were directly and proximately
caused by the defective design, manufacture, failure to warn or adequately warn of the dangers
associated with the product.

38. The product was defective for its foreseeable use and purpose.

39. The injuries and damages suffered by minor plaintiff were directly and proximately
caused by the failure to warn or adequately warn of the dangers associated with the product and/or
by the failure of defendants to equip the product with all devices necessary to make it safe for its
intended use.

40. The product failed to function safely under a risk/utility analysis.

41. The product was defective in that it did not meet the consumer expectations for safe
and proper use.

42. The injuries and damages suffered by minor plaintiff were directly and proximately
caused by the risks associated with the use of the product, which risks could have been eliminated
without in any way diminishing the usefulness or utility of the product.

43. Plaintiff and minor plaintiff, and others similarly situated, had an expectation and
had a reasonable right to expectation that the product would be safe for its intended use, to wit, ©
temporary henna tattoos.

44. As a result of the incident, minor plaintiff was caused to suffer severe injuries
including but not limited to: burns to her upper left extremity and face, disfigurement, severe pain

and suffering as well as injuries to the nerves and nervous system.
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45.  Asaresult of minor plaintiff’s injuries, she was caused to endure and will continue
to endure great pain, suffering, inconvenience, embarrassment, mental anguish, emotional and
psychological damages, trauma and harm, and disfigurement.

46. As a result of minor plaintiff's injuries, she has expended and will be required to
expend large sums of money for medical treatment and therapeutic treatment and other attendant
services.

47. Asaresult of minor plaintiff's injuries, she has been and will in the future be unable
to enjoy the various pleasures of life that she previously enjoyed.

WHEREFORE, plaintiff Tory Williams demands judgment against defendant in an amount
in excess of $75,000.00 plus interest and costs.

COUNT Il

Plaintiff, Tory Williams, as parent and natural guardian of K.W.B., a minor,
v. Amazon.com, ELC

Breach of Implied Warranty of Merchantability

48. Plaintiff Tory Williams incorporates by reference all preceding paragraphs of this
Complaint as though fully set forth at length.

49, At the time it sold, leased or supplied the product, defendant was in the business of
marketing and supplying household products including the product which is the subject of this
litigation and were acting as a “merchant” within the meaning of Article 2 of the Pennsylvania
Uniform Commercial Code.

50. Defendant, in connection with its business activities described above, made implied
warranties with regard to the subject product, warranting that the product was safe, fit for its
ordinary and general purpose, i.c. a temporary henna tattoo. Every product sold has an implied

warranty of merchantability,
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51. Defendant was aware that plaintiff and minor plaintiff were relying on it to provide
a product for consumer purposes, thereby impliedly warranting that the goods it marketed, sold,
or otherwise brought into the stream of commerce, including the subject henna tattoo cone, would
in fact be safe and fit for its intended purpose.

52. In reliance upon the defendant’s skill and judgment and the implied warranty of
merchantability, plaintiff purchased the product for minor plaintiff who use the product for its
intended purpose, to wit, to create a temporary henna tattoo.

53. The warranties described above were false, misleading, and/or inaccurate in that
the product was unsafe, not of fair average quality, unfit for its intended ordinary use and for
plaintiff's particular purpose, not of merchantable quality, defective, not adequately packaged,
contained, and labeled, and/or did not conform to the promises or affirmations of fact made.

54. The injuries and damages sustained by minor plaintiff were caused by breach of the
implied warranty of merchantability to plaintiff and minor plaintiff by defendant with the sale,
marketing and supply of the product.

55. As a result of the incident, minor plaintiff was caused to suffer severe injuries
including but not limited to: burns to her upper left extremity and face, disfigurement, severe pain
and suffering as well as injuries to the nerves and nervous system.

56. As a result of minor plaintiff's injuries, she was caused to endure and will continue
to endure great pain, suffering, inconvenience, embarrassment, mental anguish, emotional and
psychological damages, trauma and hann, and disfigurement.

57, Asaresult of minor plaintiff's injuries, she has expended and will be required to
expend large sums of money for medical treatment and therapeutic treatment and other attendant

services.
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58. Asaresult of minor plaintiff's injuries, she has been and will in the future be unable
to enjoy the various pleasures of life that she previously enjoyed.
WHEREFORE, plaintiff Tory Williams demands judgment against defendant in an amount
in excess of $75,000.00 plus interest and costs.
COUNT IV

Plaintiff, Tory Williams, as parent and natural guardian of K.W.B., a minor,
v. Amazon.com, LLC

Misrepresentation

59. Plaintiff incorporates by reference all preceding paragraphs of this complaint as
though fully set forth at length.

60. Defendant marketed and labeled its product in a manner that publicly
misrepresented its character, quality and fitness. The misrepresentations included, but were not
limited to, statements that the product was safe, safe for its intended use, and was free from defects.

61. Defendant knew that its labels, advertisements, and other promotional materials
made to the consuming public, including plaintiff and minor plaintiff, were false and misleading
in material ways.

62. | The misrepresentations were made in connection with the design, manufacture,
advertisement, and/or sale of the product.

63. Defendant intended that the consuming public, including plaintiff and minor
plaintiff, would rely upon its false and misleading misrepresentations, and knew that the
consumers, plaintiff, and minor plaintiff were unaware that its representations about its product
were false.

64. Plaintiff justifiably and reasonably relied on these misrepresentations when using

the products.

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65. | The misrepresentations, as set forth more fully above, violated the Restatement of
Torts §402B and Pennsylvania interpretative common law, and entitles plaintiff to recover the
damages which are pled herein.

66. Asa result of the incident, minor plaintiff was caused to suffer severe injuries
including but not limited to: burns to her upper left extremity and face, disfigurement, severe pain
and suffering as well as injuries to the nerves and nervous system.

67. Asaresult of minor plaintiff's injuries, she was caused to endure and will continue
to endure great pain, suffering, inconvenience, embarrassment, mental anguish, emotional and
psychological damages, trauma and harm, and disfigurement.

68. Asa result of minor plaintiff's injuries, she has expended and will be required to
expend large sums of money for medical treatment and therapeutic treatment and other attendant
services.

69. As aresult of minor plaintiff's injuries, she has been and will in the future be unable
to enjoy the various pleasures of life that she previously enjoyed.

WHEREFORE, plaintiff Tory Williams demands judgment against defendant in an amount
in excess of $75,000.00 plus interest and costs.

COUNT V

Plaintiff, Tory Williams, as parent and natural guardian of K.W.B., a minor,
y. Amazon.com, LLC

Breach of Implied Warranty of Fitness for a Particular Purpose

70.‘ Plaintiff Tory Williams incorporates by reference all preceding paragraphs of this
Complaint as though fully set forth at length.
7i. At the time it sold, leased or supplied the product, defendant was in the business of

marketing, selling and supplying houschold products including the product which is the subject of

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this litigation and was acting as a “merchant” within the meaning of Article 2 of the Pennsylvania
Uniform Commercial Code.

72. Defendant, in connection with its business activities described above, made implied
warranties with regard to the subject product, warranting that the product was safe and fit for a
particular purpose, i.e. a temporary henna tattoo.

73. Defendant was aware that plaintiff and minor plaintiff were relying on it to provide
a product for consumer purposes, thereby impliedly warranting that the goods it marketed, sold,
or otherwise brought into the stream of commerce, including the subject henna tattoo cone, would
in fact be safe and fit for its intended particular purpose.

74.  Inreliance upon the defendant’s skill and judgment and the implied warranties of
fitness for that purpose, plaintiff purchased the product for minor plaintiff who use the product for
its intended purpose, to wit, to create a temporary henna tattoo.

75. At the time the parties entered into their contract for the purchase of the subject
henna tattoo cone, Defendant knew or should have known of Plaintiff's particular purpose and use
of the product, to wit, to create a temporary henna tattoo.

76. Plaintiff relied upon Defendant when selecting the product.

77. The warranties described above were false, misleading, and/or inaccurate in that
the product was unsafe and unfit for plaintiff's particular purpose.

78. The injuries and damages sustained by minor plaintiff were caused by breach of the
implied warranty of fitness for a particular purpose to plaintiff and minor plaintiff by defendant

with the sale, marketing and supply of the product.

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79. As a result of the incident, minor plaintiff was caused to suffer severe injuries
including but not limited to: burns to her upper left extremity and face, disfigurement, severe pain
and suffering as well as injuries to the nerves and nervous system.

80.  Asaresult of minor plaintiff's injuries, she was caused to endure and will continue
to endure great pain, suffering, inconvenience, embarrassment, mental anguish, emotional and
psychological damages, trauma and harm, and disfigurement.

81. Asa result of minor plaintiff's injuries, she has expended and will be required to
expend large sums of money for medical treatment and therapeutic treatment and other attendant
services.

82. Asaresult of minor plaintiff's injuries, she has been and will in the future be unable
to enjoy the various pleasures of life that she previously enjoyed.

WHEREFORE, plaintiff Tory Williams demands judgment against defendant in an amount

in excess of $75,000.00 plus interest and costs.

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